Information to identify the case:
Debtor 1              Theresa Ann Charlebois                                            Social Security number or ITIN: xxx−xx−3830
                      First Name   Middle Name     Last Name

Debtor 2
                      First Name   Middle Name     Last Name
(Spouse, if filing)
United States Bankruptcy Court            Western District of New York                  Date case filed for chapter 7     10/2/18

Case number: 2−18−21021−PRW


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                 About Debtor 1:                                    About Debtor 2:

1.     Debtor's full name                        Theresa Ann Charlebois

2.     All other names used
       in the last 8 years

3.     Address                                   3330 Bailey Road
                                                 Bloomfield, NY 14469

4.     Debtor's attorney                         Pro Se
       Name and address

5.     Bankruptcy trustee                        Kenneth W. Gordon                                  Contact phone (585) 244−1070
                                                 1039 Monroe Avenue
       Name and address                          Rochester, NY 14620
                                                                                                               For more information, see page 2 >
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Debtor Theresa Ann Charlebois                                                                                        Case number 2−18−21021−PRW

6. Bankruptcy clerk's office                    100 State Street                                                 Hours open: 8:00 a.m. to 4:30 p.m.
                                                Rochester, NY 14614                                                          Monday − Friday
    Documents in this case may be filed
    at this address. You may inspect all        Website: http://www.nywb.uscourts.gov                            Contact phone (585) 613−4200
    records filed in this case at this office
    or online at www.pacer.gov.
                                                                                                                 Date: 10/2/18

7. Meeting of creditors                         November 6, 2018 at 01:00 PM                                     Location:

    Debtors must attend the meeting to          Individual debtors must provide picture identification           Office of the U.S. Trustee, 100
    be questioned under oath. In a joint        and proof of social security number to the trustee at            State Street, Room 6080,
    case, both spouses must attend.             this meeting of creditors. Failure to do so may result
    Creditors may attend, but are not           in your case being dismissed.                                    Rochester, NY 14614
    required to do so.
                                                The meeting may be continued or adjourned to a later
                                                date. If so, the date will be on the court docket.


8. Presumption of abuse                         The presumption of abuse does not arise.

    If the presumption of abuse arises,
    you may have the right to file a motion
    to dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                    File by the deadline to object to discharge                      Filing deadline: 1/7/19
                                                or to challenge whether certain debts are
    The bankruptcy clerk's office must          dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                                  You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or
                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                exempt. If you believe that the law does not authorize
                                                an exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim
    unless you receive a notice to do so.


11. Creditors with a                            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
    foreign address                             to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                have any questions about your rights in this case.


12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                objection by the deadline to object to exemptions in line 9.
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